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 ___
                                                                                                                   Menu




                                                        Connections



                    Connect all of your customer data
         Segment is the single platform to collect, unify, and activate your first-party
                                                            data.


                                      Your work email




                                                         Get a demo




                                                 Create a free account




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       Sources


       Collect every touch point
       Collect the full view of the customer, across your apps, sales, support, payment, and messaging
       experiences.




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       Destinations


       Power all your tools with the same data
       Enable the best product analytics, A/B testing, and data warehouse tools with first-party data.




       Implement new tools, fast

       Integrate new tools in minutes, not weeks. No more setup headaches and no need to push code.




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       Mobile approvals, instantly

       Eliminate
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       mobile SDKs.




       Focus on product work, now

       Segment makes trying new tools incredibly easy. Say goodbye to expensive and time-consuming integration

       processes that stand in the way of leveraging the best tools available.




                                           What is first-party data?
         Every marketing and analytics app runs on the same three types of data: who your
       users are, what they are doing, and where they are when they're doing it. Collect it all at
                                           once with Segment and send it to any tool.


                         Track
                         Track how your users interact with your product like purchasing items, viewing a page, or using a
                         feature.



                         Identify
                         Identify users to determine if they're new or existing customers, and tie each person to the right
                         actions.



                         Page
                         Locate users so you know what page they were on and what device they were using when they
                         performed the action.




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                                   Data governance and controls
                         We’ve built all the tools you need to manage your customer data.


                                               Debug       Replay      Observe




       Debug
       See a live stream of your event data flowing from your app to Segment’s API.


       Explore Debugger




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       Functions



       Customize your pipeline
       Functions lets you build any custom integration with Segment, with just ten lines of JavaScript.



       Explore Functions




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       Subject Rights Management



       Streamline regulatory compliance and consent
       management


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       Accelerate compliance with regulations like the GDPR and the CCPA with automated data subject

       rights management to find a single source of truth for end-user consent with our built-in consent

       enforcement. Integrate with any consent management platform to rrespect
                                                                        espect end
                                                                               end u
                                                                                   user
                                                                                    ser c
                                                                                        consent
                                                                                         onsent across

       your Connecttions.
            Connections.


       Whether your customers want you to delete or modify their data, or even stop collecting it entirely,

       Segment has you covered.



       Explore Privacy




                                           Look under the hood
        Having amazing data infrastructure used to be out of reach. Today, that’s no longer the
         case. We’ve solved the hard challenges around delivering billions of events reliably to
             downstream APIs so that you can focus on what matters — building an amazing
                                                           product.




               Mobile SDKs



             Learn how our iOS and Android SDKs reduce your app’s power consumption by
             2-3x.




               Deduplication



             Delivering billions of messages exactly once.




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               Reliability
               Reliabi
                    billity



             Reliably sending billions of messages per day to hundreds of public APIs.




               Functions



             Reliably sending billions of messages per day to hundreds of public APIs.




                                           Additional resources




             Privacy & Compliance

             Automatically detect and classify PII in real-time. By setting rules to proactively
             block, hash, and routine sensitive data, you can accelerate compliance with
             GDPR, CCPA, and more.




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             Standardize your data

             Standardize data collection by creating a single tracking plan across all your
             web and mobile apps.




                                       Frequently asked questions

       What is a first-party data collection platform?



       What can you do with Segment’s first-party data collection
       platform?



       How does Segment collect first-party customer data?



       What tools can Connections send first-party customer data to?




                                           Getting started is easy
                                           Start connecting your data with Segment.


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